     Case:
       ----1:24-cv-01861-DAP
            ----------    -- Doc #: 36-8 Filed: 05/16/25 1 of 2. PageID #: 357
  2024-0020678
  DEEDSFee:$0.00Page 1 of2
  Recorded: 7/24/2024 at 11:07 AM
                                          JRANSffRRfO
  1nrmrrnrm I
  Receipt: T20240014847

                                                     9
                                          INro::;:~:! -~fi

Quit Claim Deed1 CRAIGSNDDGRAss,cPA,c~
                   LORAIN COUNTY AUDITOR •

       Know all Men by these Presents

That, Lorain County Land Reutilization Corporation, the Grantor, who may claim title by or
through Instrument No. 2023-0907905 recorded in the Lorain County Recorder's Office, for
good and valuable consideration received to its full satisfaction All American Home
Renovations LLC the Grantee, whose TAX MAILING ADDRESS will be 215 Howe St. Elyria,
OH 44035, has given, granted, remised, released and forever quit-claimed, and does by these
presents absolutely give, grant, remise, release and forever quit-claim unto the said Grantee, its
successors and assigns forever, all such right and title as it, the said Grantors, has or may have in
and to the premises identified by Permanent Parcel Number 02-01-003-203-008 and as described
below,


Situated in the City of Lorain, County of Lorain and State of Ohio; and known as being Sublot
No. 43 in Morehouse and Foster's Subdivision, of part of Original Black River Township Lot
No. 3, Tract 1, as shown by the recorded plat in Volume 4, Page 27 of Lorain County Records,
and being a parcel ofland 50 feet front on the Southerly side of Allen Avenue, now known as
West 29th Street, and extending back of equal width 132.92 feet, as appears by said plat, being
the same more or less.



P.P. No. 02-01-003-203-008

                                                Legal ~r;fUnn relllewed bl(     ~
                                                 :1.   7 i~/_1,,q_ per ORC Sec. 571-:-       r
                                                                                          u ..




TO HA VE AND TO HOLD the above granted and bargained premises, with the appurtenances

thereof, unto the said Grantee, its successors and assigns, so that neither the said Grantors, nor its

successors or assigns, nor any other persons claiming title through or under it, shall or will
                                              20240020678
      Case: 1:24-cv-01861-DAP Doc #: 36-8 Filed: 05/16/25 2 of 2. Page
                                                                  PageID2#: of
                                                                            3582




hereafter claim or demand any right or title to the premises, or any part thereof; but they and

every one of them shall by these presents be excluded forever.

Signed and acknowledged in the presence of:




                    and Reutilization Corporation


State of Ohio                     )
                                  )
Lorain County,                    ) ss.

        Before me, a Notary Public, in and for said County and State, James L. Miller, Assistant
Director Lorain County Land Reutilization Corporation personally appeared and
acknowledged that she / he did sign the foregoing instrument and that the same is her / his free
act and deed.




This instrument prepared by:                                         Nicol• Finnerty
Lorain County Land Reutilization Corporation                   Notary Public, State of Ohio
                                                                My Commission Expires:
226 Middle Ave. 5th Floor                                            August 14, 2028
Elyria, OH 44035
